Case 1:19-cv-23084-KMW Document 38-1 Entered on FLSD Docket 01/07/2020 Page 1 of 7




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION


    OMAR SANTOS and AMANDA CLEMENTS on                Case No 1:19-cv-23084-KMW
    behalf of themselves and all others similarly
    situated,

                 Plaintiffs,

          vs.

    HEALTHCARE REVENUE RECOVERY
    GROUP, LLC d/b/a ARS ACCOUNT
    RESOLUTION SERVICES and EXPERIAN
    INFORMATION SOLUTIONS, INC.,

                Defendants.
    __________________________________/


                               STIPULATED PROTECTIVE ORDER
Case 1:19-cv-23084-KMW Document 38-1 Entered on FLSD Docket 01/07/2020 Page 2 of 7




           Before the Court is the parties’ Joint Motion for Entry of Stipulated Protective Order. The

   Court has considered the motion and applicable law and finds that the motion should be and is

   hereby GRANTED.

           It is further ORDERED that:

           1.     This Order shall govern the use, handling, and disclosure of all documents,

   testimony, or information produced or given in this action which are designated to be subject to

   this Order in accordance with the terms set forth below.

           2.     Any party or non-party producing or filing documents or other materials in this

   action may designate such materials and the materials’ contents subject to this Order by affixing

   the word “Confidential” on the materials in a manner that will not interfere with the materials’

   legibility.

           3.     To the extent any motions, briefs, pleadings, deposition transcripts, or other papers

   to be filed with the Court incorporate documents or information subject to this Order, the party

   filing such papers shall designate such materials, or portions thereof, as “Confidential,” and shall

   file them with the clerk under seal. Any party filing any document under seal must comply with

   the requirements of Local Civil Rule 5.4.

            4.    All documents, transcripts, or other materials subject to this Order, and all

    information derived therefrom (including, but not limited to, all testimony given in a deposition,

    declaration or otherwise, that refers, reflects, or otherwise discusses any information designated

    “Confidential” pursuant to this Order), shall not be used, directly or indirectly, by any person,

    including the other Defendants, for any business, commercial, or competitive purposes or for

    any purpose whatsoever other than solely for the preparation and trial of this action in accordance

    with the provisions of this Order.




                                                    1
Case 1:19-cv-23084-KMW Document 38-1 Entered on FLSD Docket 01/07/2020 Page 3 of 7




           5.     Except with the prior written consent of the individual or entity designating a

    document or portions of a document as “Confidential,” or pursuant to an Order of this Court,

    any document, transcript, or pleading given “Confidential” treatment under this Order, and any

    information contained therein, or derived from any such materials (including, but not limited to,

    all deposition testimony that refers to, reflects, or otherwise discusses any information

    designated “Confidential” hereunder) may not be disclosed other than in accordance with this

    Order and may not be disclosed to any person other than: (a) the Court, the Court’s officers, and

    jury members; (b) parties to this litigation; (c) counsel for the parties, whether retained outside

    counsel or in-house counsel and employees of counsel assigned to assist in the preparation of

    this litigation; (d) fact witnesses subject to a proffer to the Court or a stipulation of the parties

    that such witnesses need to know such information; (e) present or former employees of the

    Producing Party in connection with their depositions in this action; (f) experts specifically

    retained as consultants or expert witnesses in connection with this litigation; (g) the mediator

    selected by the parties and the mediator’s staff.

           6.     Documents produced pursuant to this Order shall not be made available to any

    person designated in Subparagraph 5(d) and 5(f) unless he or she has first read this Order, agreed

    to be bound by its terms, and signed an Agreement to be Bound by Protective Order (Exhibit

    A).

           7.     All persons receiving documents produced pursuant to this Order shall be advised

    of their confidential nature. All persons to whom confidential documents are disclosed are

    hereby enjoined from disclosing those documents or their contents to any person, except as

    provided herein, and are further enjoined from using same except in the preparation for and trial

    of the above-captioned action between the named parties thereto. No person receiving or




                                                     2
Case 1:19-cv-23084-KMW Document 38-1 Entered on FLSD Docket 01/07/2020 Page 4 of 7




    reviewing such confidential documents, information, or transcript shall disseminate or disclose

    them to any person other than those described above in Paragraph 5 and for the purposes

    specified, and in no event shall such person make any other use of such document or transcript.

           8.     Nothing in this Order shall prevent a party from using at trial any information or

    materials designated “Confidential.”

           9.     This Order has been agreed to by the parties to facilitate discovery and the

    production of relevant evidence in this action. Neither the entry of this Order, nor the designation

    of any information, document, or the like as “Confidential,” nor the failure to make such

    designation, shall constitute evidence with respect to any issue in this action.

           10. Within sixty (60) days after the final termination of this litigation, all documents,
    transcripts, or other materials afforded confidential treatment under this Order, including any

    extracts, summaries, or compilations taken therefrom, but excluding materials that in the good-

    faith judgment of counsel are work product materials, shall be returned to the Producing Party.

           11. A party may object to the designation of particular Confidential information by
    giving written notice to the party designating the disputed information. The written notice shall

    identify the information to which the objection is made. If the parties cannot resolve the

    objection within ten (10) business days after the notice is received, it shall be the obligation of

    the party designating the information as Confidential to file an appropriate motion requesting

    that the Court determine whether the disputed information is subject to this Order. If such a

    motion is filed within forty-five (45) days of the completion of the 10-day meet-and-confer

    period described above, the disputed information shall be treated as Confidential under the terms

    of this Order until the Court rules on the motion. If the designating party fails to file such a

    motion within the prescribed time, the disputed information shall lose its designation as




                                                     3
Case 1:19-cv-23084-KMW Document 38-1 Entered on FLSD Docket 01/07/2020 Page 5 of 7




    Confidential and shall not thereafter be treated as Confidential in accordance with this Order. In

    connection with a motion filed under this provision, the party designating the information as

    Confidential shall bear the burden of establishing that good cause exists for the disputed

    information to be treated as Confidential.

            12. Nothing in this Order shall affect or restrict the rights of any party with respect to
    its own documents or to the information obtained or developed independently of documents,

    transcripts, and materials afforded confidential treatment pursuant to this Order.

            13. The Court retains the right to allow disclosure of any subject covered by this
    stipulation or to modify this stipulation at any time in the interest of justice.

          SO ORDERED on this _____ day of _________________________.



                                                          ______________________________
                                                          Hon. Edwin G. Torres
                                                          U.S. MAGISTRATE JUDGE




                                                      4
Case 1:19-cv-23084-KMW Document 38-1 Entered on FLSD Docket 01/07/2020 Page 6 of 7




                                                EXHIBIT A

                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION

    OMAR SANTOS and AMANDA CLEMENTS on                               Case No 1:19-cv-23084-KMW
    behalf of themselves and all others similarly
    situated,

                     Plaintiffs,
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    HEALTHCARE REVENUE RECOVERY
    GROUP, LLC d/b/a ARS ACCOUNT
    RESOLUTION SERVICES and EXPERIAN
    INFORMATION SOLUTIONS, INC.,

                Defendants.
    __________________________________/
                     AGREEMENT TO BE BOUND BY PROTECTIVE ORDER
             I, _________________________________, state that:

             1.     My address is ____________________________________________,

             2.     My present employer is __________________________and the address of my

   present employment is ____________________________________.

             3.     My present occupation or job description is _____________________.

             4.     I have carefully read and understood the provisions of the Protective Order in this

   case signed by the Court, and I will comply with all provisions of the Protective Order.

             5.     I will hold in confidence and not disclose to anyone not qualified under the

   Protective Order any Confidential material or any words, summaries, abstracts, or indices of

   Confidential information disclosed to me.

             6.     I will limit use of Confidential material disclosed to me solely for purpose of this

   action.




                                                      5
Case 1:19-cv-23084-KMW Document 38-1 Entered on FLSD Docket 01/07/2020 Page 7 of 7




          7.     No later than the final conclusion of the case, I will return all Confidential

   material and summaries, abstracts, and indices thereof which come into my possession, and

   documents or things which I have prepared relating thereto, to counsel for the party for whom I

   was employed or retained.

          I declare under penalty of perjury that the foregoing is true and correct.


                                                             ____________________________
           Dated:




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